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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,         CR. NO. 17-20439
v.
                                       HONORABLE LAURIE J. MICHELSON
LAWRENCE DAVIS,

                    Defendant.
                                       /

        DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

      Defendant Lawrence Davis, by and through his attorneys, Andrew Densemo

and Jessica Lefort of the Federal Defender Office, hereby files this Motion to Dismiss

the Indictment, under Federal Rules of Criminal Procedure 7(c)(1) and 8(a), and in

support, states as follows:

      1.     On June 27, 2017, Mr. Davis was charged in Count One of an

Indictment with violating 21 U.S.C. §841(a)(1), Distribution Controlled Substances.

      2.     Count One of the Indictment reads as follows:

             That on or about September 19, 2016, in the in the Eastern
             District of Michigan, Southern Division, the defendant,
             LAWRENCE DAVIS, did knowingly and intentionally
             distribute controlled substances to C.V.; in violation of
             Title 21, United States Code, Section 841(a)(1). Pursuant
             to Title 21, United States Code, Section 841(a)(1), it is
             further alleged that this violation involved Fentanyl, a
             Schedule II controlled substance, in violation of Title 21,
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            United States Code, Section 841 (b)(10(C).

            Pursuant to Title 21, United States Code, Section
            841(a)(1), it is further alleged that on OR ABOUT
            September 19, 2017, the death of another person, C.V.,
            whose identity is known to the Grand Jury, resulted from
            the use of the controlled substance so distributed by
            LAWRENCE DAVIS.

      3.    The Indictment as to Count One is duplicitous because it has joined two

or more distinct and separate offenses into a single count. The present indictment

makes it impossible to determine whether a jury unanimously agreed that the

defendant committed either of the separate offenses contained within the count.

      4.    If the Government is permitted to proceed under the Indictment as

written, there is a strong possibility that Mr. Davis may be convicted by a non-

unanimous jury. For example, six jurors may find that Mr. Davis violated Section

(b)(1)(C) only as to the schedule II controlled substances, whereas the opposite six

jurors may find that Mr. Davis only violated Section 841(a)(1).

      5.    Thus, the Indictment, as written, is impermissibly duplicitous and subject

to dismissal. See, e.g., United States v. Bins, 331 F.2d 390, 393 (5th Cir. 1964)

(dismissing a duplicitous indictment because the jury may not have agreed

unanimously that defendant committed at least one of the offenses charged in the

indictment), cert. denied, 379 U.S. 880 (1964).



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      6.    The Court should either dismiss the indictment or order an election or

consolidation of Counts One and Two where they charge two or more separate

offenses in a single count and/or charge the same offense in different counts.

      WHEREFORE, Defendant Lawrence Davis respectfully requests that this Court

Dismiss Count One of the Indictment or order that the two charges in Count one be

alleged independently.

                                      Respectfully submitted,

                                      FEDERAL DEFENDER OFFICE


                                      s/Andrew Densemo
                                      ANDREW DENSEMO (P37583)
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Dated: October 6, 2017




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,        CR. NO. 17-20439
v.
                                   HONORABLE LAURIE J. MICHELSON
LAWRENCE DAVIS,

                 Defendant.
                                   /

                    BRIEF IN SUPPORT OF
       DEFENDANT’S MOTION TO DISMISS THE INDICTMENT
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      On June 27, 2017, Mr. Davis was charged in a one Count Indictment. The

Indictment is duplicitous in two respects. First, the statute at issue defines two

separate offenses, both of which are charged in a single count in the Indictment; (1)

Distribution of a controlled substance, and (2) Distribution of a controlled substance,

death resulting.    An indictment is duplicitous where it joins two or more distinct

crimes in a single count. U. S. vs. Murray, 618 F.2d 892, 896 (2nd Cir. 1980). “ A

general verdict of guilty stemming from a duplicitous indictment will not reveal

whether the jury found the accused guilty of one crime and not guilty of another.

Moreover, a guilty verdict based on a duplicitious indictment does not indicate if the

jury found the defendant guilty without ever reaching a unanimous verdict on the

commission of a particular offense.” Id at 896.

      “The ban against duplicitous indictments derives from four concerns; (1)

prejudicial evidentiary rulings at trial; (2) the lack of adequate notice of the nature of

the charges against the defendant; (3) prejudice in obtaining appellate review and

prevention of double jeopardy; and (4) risk of a jury’s non-unanimous verdict.” U.S.

v. Cooper, 966 F.2d 936, 939 n.3 (5th Cir. 1992)         “Duplicitous indictments may

prevent jurors from acquitting on a particular charge by allowing them to convict on

another charge that is improperly lumped together with another offense in a single

count. Where such a situation occurs, it is impossible to determine whether all twelve

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jurors unanimously agreed that the defendant committed either of the separate

offenses contained within the duplicitous count.” U.S. v. Morse, 785 F.2d 771, 774

(9th Cir. 1986) (citing U.S. v. UCO Oil., 546 F.2d 833, 835 (9th Cir. 1976), cert.

denied, 430 U.S. 966 (1977). “A duplicitous charge further prejudices the defendant

at trial because evidentiary rulings permitting evidence to come in as to one of the

separate offenses may be inadmissable as to the other.” U.S. v. Pavloski, 574 F.2d

933, 936 (7th Cir. 1978). “In reviewing an indictment for duplicity, the court will look

to the indictment itself to determine whether it may fairly be read to charge only one

crime in each count. In other words, the court does not review the evidence presented

at trial to determine whether it would support charging several crimes rather than just

one, but rather solely to assess whether the indictment itself can be read to charge

only one violation in each count.” U.S. v. Mastelotto, 717 F.2d 1238, 1244 (9th Cir.

1983)

        Thus, the Indictment, as written, is impermissibly duplicitous and subject to

dismissal. See, e.g., United States v. Bins, 331 F.2d 390, 393 (5th Cir. 1964)

(dismissing a duplicitous indictment because the jury may not have agreed

unanimously that defendant committed at least one of the offenses charged in the

indictment), cert. denied, 379 U.S. 880 (1964).




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      Wherefore the Defendant prays that this Honorable Court will either dismiss

the indictment or order a consolidation or election in accordance with FRCP 7 (c)(1)

and 8 (a) and the cases cited herein.

                                             Respectfully submitted,

                                             FEDERAL DEFENDER OFFICE


                                             s/Andrew Densemo
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Dated: October 6, 2017




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,
     v.                                          Case No. 17-20439

LAWRENCE DAVIS,                                  Hon. LAURIE MICHELSON

                          Defendant.
                                        /

                          CERTIFICATE OF SERVICE

     I hereby certify that on October 6, 2017, I electronically filed the foregoing

paper with the clerk of the Court using the ECF system, which will send notification

of such filing to the following:

                   MARK BILKOVIC
                   Assistant United States Attorneys
                   United States Attorney's Office
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                                       FEDERAL DEFENDER OFFICE

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Dated: October 6, 2017
